                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )      No.   3:09-cr-00240-2
v.                                                    )            3:09-cr-00240-4
                                                      )            3:09-cr-00240-26
FAITH READUS; HOWARD COLEMAN;                         )      Judge Nixon
JAMES CAMPBELL                                        )

                                             ORDER

       Pending before the Court is Defendant James Campbell’s Motion for Government Agents

to Retain Rough Notes (“Motion”), in which Mr. Campbell requests the Court order the

Government to retain all rough notes by officers and informants during investigation into this

case. (Doc. No. 1180.) Defendants Howard Coleman and Faith Readus have joined the Motion.

(Doc. Nos. 1608; 1609.) The Government filed a Response in which it stated that it has asked

agents to retain their rough notes related to investigation of this case. (Doc. No. 1267.)

Accordingly, Mr. Campbell’s Motion (Doc. No. 1180) is TERMINATED AS MOOT.

       It is so ORDERED.

       Entered this the ___7th____ day of January, 2013.



                                                      ________________________________
                                                      JOHN T. NIXON, SENIOR JUDGE
                                                      UNITED STATES DISTRICT COURT




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